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                                    UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF FLORIDA

                                    CASE NO. 23-cv-22655-ALTMAN/Reid

   THE FARMWORKER ASSOCIATION
   OF FLORIDA, INC., et al.,

            Plaintiffs,

   v.

   JAMES UTHMEIER, in his official capacity
   as Attorney General of the State of Florida, et al.,

         Defendants. 1
   _________________________________________/

                          ORDER ON SCOPE OF PRELIMINARY INJUNCTION

            On May 22, 2024, we issued our Order Granting the Plaintiffs’ Motion for Preliminary

   Injunction [ECF No. 99], in which we found that “the Plaintiffs are likely to prevail on their claim

   that Section 10 of SB 1718 is preempted by federal law—and that they have satisfied each of the other

   elements of their preliminary-injunction request.” Id. at 40. In granting the Plaintiffs’ Motion for

   Preliminary Injunction, we said that “we remain bound by the pronouncements of [the Eleventh]

   Circuit, which has held that the ‘unlawful transport and movement of aliens’ is a fully preempted

   field.” Id. at 39 (quoting Ga. Latino All. for Hum. Rts. v. Governor of Ga., 691 F.3d 1250, 1264 (11th Cir.

   2012)). We also noted that “a state ‘has no legitimate interest in enforcing an unconstitutional law.’”

   Id. at 37 (cleaned up) (quoting Honeyfund.com Inc. v. Governor, 94 F.4th 1272, 1283 (11th Cir. 2024)); see




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     The original named Defendant in this case, Ashley Moody, resigned from her position as the
   Attorney General of Florida on January 21, 2025, when Governor Ron DeSantis appointed her to be
   a United States Senator. The current Attorney General, James Uthmeier, has been automatically
   substituted as the Defendant. See FED. R. CIV. P. 25(d) (“An action does not abate when a public
   officer who is a party in an official capacity dies, resigns, or otherwise ceases to hold office while the
   action is pending. The officer’s successor is automatically substituted as a party.”).
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   also Odebrecht Constr., Inc. v. Sec’y, Fla. Dep’t of Transp., 715 F.3d 1268, 1290 (11th Cir. 2013) (“[T]he

   public has no interest in the enforcement of what is very likely an unconstitutional statute.”).

           On May 23, 2024, we entered a Supplemental Order on the Scope of the Preliminary

   Injunction (the “Supplemental Order”) [ECF No. 100]. In that Supplemental Order, we said that the

   preliminary injunction in this case—like the injunction the Eleventh Circuit affirmed in Georgia

   Latino—would extend statewide. But, because the parties’ original briefing was relatively scant on this

   issue—and given the “national conversation taking place in both the legal academy and the judiciary

   concerning the propriety of courts using universal injunctions as a matter of preliminary relief,” Walls

   v. Sanders, 733 F. Supp. 3d 721, 751 (E.D. Ark. May 7, 2024) (Rudofsky, J.) (cleaned up)—we invited

   additional briefing on the scope of the injunction, see Order Inviting Further Briefing [ECF No. 101].

           The parties have now submitted supplemental briefing on this important question. See

   Plaintiffs’ Supplemental Brief on the Scope of the Injunction (the “Plaintiffs’ Supplemental Brief”)

   [ECF No. 104]; Defendants’ Supplemental Brief on the Scope of the Injunction (the “Defendants’

   Supplemental Brief”) [ECF No. 105]. 2 Our Plaintiffs, the Farmworker Association of Florida

   (“FWAF”) and several of its members, say that “statewide injunctions do not present many of the

   primary concerns that have animated the debate over nationwide injunctions,” and that a statewide

   injunction is particularly appropriate to “advance the basic purpose of [the] preemption doctrine . . .

   and ensure the smooth functioning of the federal immigration scheme.” Plaintiffs’ Supplemental Brief

   at 2–3. The Defendants counter that a statewide injunction “would still be universal and would

   contradict the principle that equitable relief should be limited to the parties before the Court who have

   shown that they are entitled to relief[.]” Defendants’ Supplemental Brief at 2.




   2
     The Defendants also filed a Motion for Reconsideration [ECF No. 106], which we’ll resolve in a
   separate order.
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                Our analysis on this issue will proceed in three parts. We’ll begin by comparing nationwide

   and statewide injunctions, and we’ll discuss the relevant differences between these two “sub-species”

   of universal injunctions. Next, we’ll explain why—despite these differences—we believe that a

   statewide injunction isn’t appropriate in our case. Finally, we’ll narrow the scope of the injunction to

   cover only the Plaintiffs who have demonstrated their standing to sue.

                I.     Statewide Injunctions Differ from Nationwide Injunctions

                One of the Defendants’ principal arguments is that both nationwide and statewide injunctions

   are “sub-species” of “universal injunctions”—which lack any “historical or statutory grounding[.]”

   Defendants’ Supplemental Brief at 11. And we agree with the Defendants that universal injunctions—

   whether statewide or nationwide—“enjoin a relevant government actor from enforcing the law against

   anyone who might be subject to the law and thus suffer the same ill[.]” Ibid. Still, and for two reasons,

   we reject the Defendants’ broader premise that statewide and nationwide injunctions are effectively

   identical.

                First, courts routinely grant statewide injunctions where (as here) the plaintiffs have shown a

   strong likelihood of success on the merits of their claim that a state law is preempted. See, e.g., Ga.

   Latino, 691 F.3d at 1267 (affirming district court’s order granting a statewide preliminary injunction

   against the enforcement of Section 7 of HB 87); Odebrecht Constr., 715 F.3d at 1290 (affirming district

   court’s decision to grant a statewide preliminary injunction in preemption challenge brought by a single

   plaintiff because “the Cuba Amendment . . . . reaches far beyond the federal law in numerous ways

   and undermines the President’s exercise of the discretion afforded him by Congress to direct our

   Nation’s economic policy towards Cuba” and because “frustration of federal statutes and prerogatives

   [is] not in the public interest” (cleaned up)); Valle del Sol Inc. v. Whiting, 732 F.3d 1006, 1029 (9th Cir.

   2013) (affirming district court’s decision to grant a statewide preliminary injunction where the relevant

   statute was preempted by federal law); Lozano v. City of Hazleton, 724 F.3d 297, 323 (3d Cir. 2013)

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   (same); Chamber of Commerce of U.S. v. Edmondson, 594 F.3d 742, 750 (10th Cir. 2010) (affirming

   preliminary injunction prohibiting the State of Oklahoma from enforcing laws “that regulate illegal

   immigration and verification of employment eligibility”).

           The Defendants respond that federal courts don’t “‘routinely grant statewide injunctions’ in

   cases involving preemption or facial challenges” and insist that the opinions the Plaintiffs rely on are

   “drive-by rulings” that lack “precedential effect.” Defendants’ Supplemental Brief at 12. But the

   overwhelming weight of authority from federal courts around the country (including in the Eleventh

   Circuit) confirms that statewide injunctions remain a viable tool for district courts because “[r]emedies

   designed to end a continuing violation of federal law are necessary to vindicate the federal interest in

   assuring the supremacy of that law.” Green v. Mansour, 474 U.S. 64, 68 (1985); see also Florida v. Dep’t of

   Health & Human Servs., 19 F.4th 1271, 1281–82 (11th Cir. 2021) (“[A] federal district court may issue

   a nationwide, or ‘universal,’ injunction in appropriate circumstances. But notably, those appropriate

   circumstances are rare. A [universal] injunction may be warranted where it is necessary to provide

   complete relief to the plaintiffs, to protect similarly situated nonparties, or to avoid the chaos and

   confusion of a patchwork of injunctions. Or universal relief may be justified where the plaintiffs are

   dispersed throughout the United States, when immigration law is implicated, or when certain types of

   unconstitutionality are found.” (cleaned up & emphasis added)). The only opinion the Defendants rely on

   is an unpublished dissent in a case with very different facts from ours. See HM Florida-Orl, LLC v.

   Governor of Fla., 2023 WL 6785071, at *5 (11th Cir. Oct. 11, 2023) (Brasher, J., dissenting) (“A district

   court can’t enter an overbroad injunction just because it’s dealing with an overbroad statute. To hold

   otherwise, the majority conflates the merits of a legal claim with the scope of the remedy for that

   claim. The First Amendment overbreadth doctrine is relevant to the former, but not the latter.”).

           Second, many of the issues plaguing nationwide injunctions—which, as of this writing, may still

   be issued “in appropriate circumstances,” viz., when “necessary to provide complete relief to the

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   plaintiffs,” Georgia v. President of the United States, 46 F.4th 1283, 1303–04 (11th Cir. 2022)—are either

   inapplicable to statewide injunctions or else apply to a far lesser degree. For example, critics of

   nationwide injunctions, including Justice Gorsuch, have rightly warned that injunctions with a

   “cosmic” scope incentivize forum shopping and gamesmanship. See Dep’t of Homeland Sec. v. New York,

   140 S. Ct. 599, 600 (2020) (Gorsuch, J., concurring in the grant of a stay) (“As the brief and furious

   history of the regulation before us illustrates, the routine issuance of universal injunctions is patently

   unworkable, sowing chaos for litigants, the government, courts, and all those affected by these

   conflicting decisions.”). And the Eleventh Circuit has expressed similar concerns:

           By cutting off parallel lawsuits, nationwide injunctions frustrate foundational
           principles of the federal court system. They encourage gamesmanship, motivating
           plaintiffs to seek out the friendliest forum and rush to litigate important legal questions
           in a preliminary posture. They disturb comity by hindering other courts from
           evaluating legal issues for themselves. And they escalate pressure on the Supreme
           Court docket by limiting percolation and raising the stakes of individual lower-court
           decisions . . . . [N]onuniformity is a deliberate feature of our federal court system, and
           Congress—not one of the 94 federal district courts or 12 regional circuit courts—is
           best positioned to choose when to depart from that norm.

   Georgia, 46 F.4th at 1304–05, 1307.

           But these concerns don’t apply as much in situations like ours. Statewide injunctions do not

   create “boundless opportunit[ies] to shop for a friendly forum.” New York, 140 S. Ct. at 601. In fact,

   by definition, statewide injunctions don’t affect other states at all. A simple illustration should bring

   this point home. Imagine a hypothetical case in which a plaintiff manages to persuade a district judge

   in one state to enter a nationwide injunction. If the defendant takes an interlocutory appeal—as it

   would be authorized to do, see 28 U.S.C. § 1292(a)(1) (“Except as provided in subsections (c) and (d)

   of this section, the courts of appeals shall have jurisdiction of appeals from . . . [i]nterlocutory orders

   of the district courts of the United States . . . or of the judges thereof, granting, continuing, modifying,

   refusing or dissolving injunctions, or refusing to dissolve or modify injunctions, except where a direct

   review may be had in the Supreme Court[.]”)—then one of two things will happen: Either the

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   injunction will be affirmed or it will be reversed. If it’s reversed, then all citizens (both within the

   enjoining circuit and without) get redress—though note that, even here, “foreign” citizens would have

   suffered some irreversible harm from having had to live (for a time) under the terms of an illegal

   injunction imposed by a judge in a far-off state.

           The far more problematic scenario, however, presents itself if the injunction is affirmed. In

   that case, the citizens of “foreign” circuits will be treated very differently—and perhaps worse—than

   the citizens of, say, the Middle and Northern Districts of Florida would be in a case where the Eleventh

   Circuit affirms a statewide injunction issued in the Southern District. In the case of a nationwide

   injunction, after all, the citizens of states outside the enjoining district’s circuit will, for two reasons,

   have little (or no) recourse to seek relief from the injunction. One, since the plaintiff has already won

   a nationwide injunction, he’ll have little (or no) incentive to bring additional lawsuits around the

   country—meaning that citizens in these other states will have no power to litigate in their own districts

   (or to appeal to their own circuits) the far-off judge’s injunction. Two, without additional litigation,

   there will be no circuit split—making it much more difficult for the out-of-circuit residents to persuade

   the U.S. Supreme Court to overturn the decision of the enjoining judge’s circuit. See SUP. CT. R. 10

   (“Review on a writ of certiorari is not a matter of right, but of judicial discretion. A petition for a writ

   of certiorari will be granted only for compelling reasons.”). None of this is true with statewide

   injunctions, where only citizens of the enjoining state are affected—giving every citizen the opportunity

   to have his or her own circuit (as opposed to some distant circuit) pass on the appropriateness of the

   injunction.

           And, for similar reasons, we don’t much care about the absence of circuit splits in the context

   of statewide injunctions because, contra what we saw in the case of a nationwide injunction, the affected

   citizens will have their own circuit decide the constitutional question on appeal—which is what the

   circuit courts do as a matter of course (not just with injunctions, but in all their published decisions).

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   See In re Lambrix, 776 F.3d 789, 794 (11th Cir. 2015) (“[U]nder this Court’s prior-panel-precedent rule,

   a prior panel’s holding is binding on all subsequent panels unless and until it is overruled or

   undermined to the point of abrogation by the Supreme Court or by this court sitting en banc[.]” (cleaned

   up)). This last point is significant because, unlike what happens when a circuit court affirms a nationwide

   injunction—thus creating an anomaly by which one circuit binds the citizens of all the rest—a circuit

   affirmance of a statewide injunction operates just like any other case, binding only the citizens of that circuit.

           In other words, not only is the scope of a statewide injunction far less sweeping than the scope

   of a nationwide injunction, but a statewide injunction doesn’t, in practice, allow for nearly as much

   forum shopping—nor does it prevent salient legal questions from “percolating” through the federal

   courts. See Georgia, 46 F.4th at 1305. Finally, and perhaps most importantly, the losing party in a

   statewide injunction need not, as Justice Gorsuch rightly worried, wait indefinitely “until either one

   side gives up or [the Supreme] Court grants certiorari.” New York, 140 S.Ct. at 601. We therefore

   disagree that a statewide injunction in this case would necessarily “encourage gamesmanship” or

   “frustrate foundational principles of the federal court system.” Georgia, 46 F.4th at 1305.

           II.      A Universal Injunction Isn’t Appropriate Here

           Nevertheless, while statewide injunctions pose fewer prudential issues than their nationwide

   counterparts, the Defendants are right to say that, in form and function, statewide injunctions are still

   “universal” and thus “contradict the principle that equitable relief should be limited to the parties

   before the Court who have shown that they are entitled to relief[.]” Defendants’ Supplemental Brief

   at 2. So, while the Eleventh Circuit has affirmed the use of universal injunctions in narrow

   circumstances, see, e.g., Georgia, 46 F.4th at 1306; Florida, 19 F.4th at 1281–82, both the Supreme Court

   and the Eleventh Circuit have (for decades) been clear that “[i]njunctive relief should be limited in

   scope to the extent necessary to protect the interest of the parties,” Keener v. Convergys Corp., 342 F.3d

   1264, 1269 (11th Cir. 2003); see also Lewis v. Casey, 518 U.S. 343, 357 (1996) (“The remedy must of

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   course be limited to the inadequacy that produced the injury in fact that the plaintiff has established.”);

   Alley v. U.S. Dep’t of Health & Human Servs., 590 F.3d 1195, 1205 (11th Cir. 2009) (“It is well-settled

   that a district court abuses its discretion when it drafts an injunction that is unnecessarily broad in

   scope.”). To borrow a phrase from Justice Robert Jackson, if there is any “fixed star” in our equity

   jurisprudence, it’s that district courts shouldn’t issue injunctions that are “more burdensome to the

   defendant than necessary to provide complete relief to the plaintiffs.” Georgia, 46 F.4th at 1306 (emphasis

   added) (quoting Califano v. Yamasaki, 442 U.S. 682, 702 (1979)).

           Justice Gorsuch persuasively outlined the potential perils of statewide injunctions in his

   concurring opinion in Labrador v. Poe, 144 S. Ct. 921 (2024). Joined by Justices Thomas and Alito,

   Justice Gorsuch agreed to stay an injunction that had “prohibit[ed] a State from enforcing any aspect

   of its duly enacted law against anyone”—thus going “further than necessary to provide interim relief

   to the parties.” Id. at 921 (Gorsuch, J., concurring in the grant of stay). As Justice Gorsuch recounted,

   the plaintiffs in Poe were “two children and their parents” who sought to enjoin Idaho state officials

   from enforcing a recently passed law that would have denied the children “access to puberty blockers

   and estrogen[.]” Ibid. “[I]nstead of enjoining state officials from enforcing the law with respect to the

   plaintiffs and the drug treatments they sought, the district court entered a universal injunction.” Ibid.

   Justice Gorsuch explained that the district court’s injunction “defied [the] foundational principles” of

   equity jurisprudence by “issu[ing] sweeping relief” that went beyond vindicating “the plaintiffs’ access

   to the drug treatments they sought.” Id. at 923 (emphasis added). In Justice Gorsuch’s view, universal

   injunctions—whether nationwide or statewide—bend “the foundational rule that any equitable

   remedy . . . must not be more burdensome to the defendant than necessary to redress the plaintiff’s

   injuries,” since they “effectively transform[ ] a limited dispute between a small number of parties

   focused on one feature of a law into a far more consequential referendum on the law’s every provision

   as applied to anyone.” Id. at 927 (cleaned up).

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           It’s true that the alleged constitutional harm in our case is perhaps more expansive than the

   plaintiff-specific injuries at issue in Poe. See Plaintiff’s Supplemental Brief at 15–16 (“[Poe] therefore

   did not present the structural imperatives that are present here, where a statewide injunction is

   necessary to maintain the federal balance and prevent the State from interfering with the federal

   immigration scheme.”). We granted the Plaintiffs’ motion to preliminarily enjoin Section 10 of SB

   1718 because, according to a published decision from our Circuit, “Congress has established an

   ‘overwhelmingly dominant federal interest in the field’ of unlawfully transporting aliens,” Order

   Granting Motion for Preliminary Injunction at 28 (quoting Ga. Latino, 691 F.3d at 1264), and “Section

   10—by its own terms—regulates the ‘knowing[ ] and willful[ ] transport[ ] into this state [of] an

   individual whom the person knows, or reasonably should know, has entered the United States in

   violation of law and has not been inspected by the Federal Government since his or her unlawful entry

   from another country,’” id. at 25–26 (quoting FLA. STAT. § 787.07(1)). But, despite these differences,

   Justice Gorsuch’s concurring opinion in Poe leaned on the long-established maxim—a maxim we aren’t

   free to ignore—that “judicial power exists only to redress or otherwise to protect against injury to the

   complaining party[.]” Warth v. Seldin, 422 U.S. 490, 499 (1975) (emphasis added). As the Supreme Court

   has said, “relief should be limited to the parties before the Court. . . . [A]lthough the occasional case

   requires us to entertain a facial challenge in order to vindicate a party’s right not to be bound by an

   unconstitutional statute, we neither want nor need to provide relief to nonparties when a narrower

   remedy will fully protect the litigants.” United States v. Nat’l Treasury Emps. Union, 513 U.S. 454, 477–

   78 (1995); see also Georgia, 46 F.4th at 1306 (“Reviewing courts should also be skeptical of nationwide

   injunctions premised on the need to protect nonparties. Several procedural devices allow nonparties

   with similar interests to seek the protection of injunctive relief—class certification under Rule 23,

   joinder and intervention in an existing lawsuit, or even filing a new lawsuit of their own.”).




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           The Plaintiffs ask us to “consider the practical implications” of a narrower injunction.

   Plaintiffs’ Supplemental Brief at 8. An injunction that doesn’t extend statewide, they explain, “would

   burden the Court” with “collateral litigation” and sow confusion because there “is no way to fully

   protect FWAF members and the other Plaintiffs from all enforcement action while allowing

   enforcement as to non-parties.” Id. at 5, 8. These considerations are important (the Plaintiffs add)

   because, “[i]n crafting an injunction, a district court may appropriately consider the feasibility of

   equitable relief and is empowered to weigh the costs and benefits of injunctive relief and, in particular,

   to assess the practical difficulties of enforcement of an injunction—difficulties that will fall in the first

   instance on the district court itself.” Koe v. Noggle, 688 F. Supp. 3d 1321, 1362 (N.D. Ga. 2023)

   (Geraghty, J.).

           While we’re sympathetic to these concerns, we don’t think they justify a broader injunction in

   our case. First, the mere possibility of additional (and maybe even inconsistent) litigation is a feature,

   not a bug, of our federal system. See Georgia, 46 F.4th at 1306 (“Several procedural devices allow

   nonparties with similar interests to seek the protection of injunctive relief—class certification under

   Rule 23, joinder and intervention in an existing lawsuit, or even filing a new lawsuit of their own. A

   district court cannot circumvent these mechanisms in the name of providing injunctive relief only for

   nonparties’ benefit.” (cleaned up)); see also Poe, 144 S. Ct. at 928 (Gorsuch, J., concurring in the grant

   of a stay) (“A return to a more piecemeal and deliberative judicial process may strike some as

   inefficient. It may promise less power for the judge and less drama and excitement for the parties and

   public. But if any of that makes today’s decision wrong, it makes it wrong in the best possible ways,

   for good judicial decisions are usually tempered by older virtues.” (cleaned up)). Second, the Plaintiffs’

   fears that they might suffer accidental harm absent a statewide injunction and that a more tailored

   injunction might be non-administrable are highly speculative and would require us to ignore the

   bedrock principle “that the remedy issued [cannot be] ‘more burdensome to the defendant than

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   necessary to provide complete relief to the plaintiffs.’” Georgia, 46 F.4th at 1306 (quoting Califano, 442

   U.S. at 702). 3

           Nor does the Eleventh Circuit’s opinion in Georgia Latino compel a different result. It’s true

   that the Georgia Latino panel affirmed a statewide preliminary injunction “enjoin[ing] enforcement” of

   a state law that both was “at odds with the federal immigration scheme” and created a credible “threat

   of state prosecution for crimes that conflict with federal law[.]” 691 F.3d at 1269. But none of the

   parties in Georgia Latino raised the scope of the preliminary injunction as an issue on appeal, so the

   Eleventh Circuit never addressed the question we resolve today. See id. at 1262–69; cf. United States v.

   Roy, 855 F.3d 1133, 1153 (11th Cir. 2017) (en banc) (“[T]he taking of testimony or other evidence that

   only indirectly inculpates the defendant is not a critical stage of the trial. . . . [The court] did not hold—

   and because the facts of that case did not present the issue it could not have held—that the taking of

   any testimony that does directly inculpate the defendant is a critical stage of the trial for Cronic

   purposes.”); see also Watts v. BellSouth Telecomm., Inc., 316 F.3d 1203, 1207 (11th Cir. 2003) (“Whatever

   their opinions say, judicial decisions cannot make law beyond the facts of the cases in which those

   decisions are announced.”). In fact, the Eleventh Circuit has never held that statewide injunctions are

   always the appropriate remedy when a state enacts a statute that conflicts with federal immigration

   laws.

           The Eleventh Circuit (it’s true) has suggested that statewide injunctions may be appropriate in

   limited circumstances. Cf. Florida, 19 F.4th at 1282 (“[C]ourts have frequently found that a nationwide

   injunction can be warranted in the immigration law context or when certain unconstitutionality is

   found.”). 4 Still, we accept Justice Gorsuch’s admonition that “[l]ower courts would be wise to take



   3
     Plus, nothing prevents the parties from seeking to modify our injunction if it proves unworkable in
   practice or if it ends up imposing an undue burden on either (or both) of the parties.
   4
     For instance, statewide injunctions continue to make sense in cases where the plaintiffs represent a
   statewide class. See Georgia, 46 F.4th at 1306 (“Several procedural devices allow nonparties with similar
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   heed” of the pitfalls of universal injunctions. Poe, 144 S. Ct. at 927 (Gorsuch, J., concurring in the

   grant of a stay); see also Trump v. Hawaii, 585 U.S. 667, 721 (2018) (Thomas, J., concurring) (“In sum,

   universal injunctions are legally and historically dubious.”). So, while some of the Plaintiffs have shown

   that they would suffer concrete harm if Section 10 were enforced against them, see generally Order

   Granting Motion for Preliminary Injunction at 30–36, we disagree that expanding the scope of our

   injunction to include unidentified third-parties (many of whom may never have standing to sue and

   none of whom have elected to assert their claims here) would constitute a proper exercise of our

   jurisdiction.

           III.    The Injunction Shall Apply to All Plaintiffs with Standing

            Having thus determined that our injunction shouldn’t apply statewide, we must now decide

   how far it will extend. The Plaintiffs suggest that “the injunction should prevent the enforcement of

   Section 10 against any Plaintiff, including all of FWAF’s members.” Plaintiffs’ Supplemental Brief at

   16. The Defendants respond that “the proper scope of relief here is at most an injunction prohibiting

   Defendants from prosecuting the individual Plaintiffs.” Defendants’ Supplemental Brief at 8.

           “Crafting a preliminary injunction is an exercise of discretion and judgment, often dependent

   as much on the equities of a given case as the substance of the legal issues it presents.” Trump v. Int’l

   Refugee Assistance Project, 582 U.S. 571, 579 (2017). As we’ve said, the “traditional scope of injunctive

   relief” requires us to delineate an injunction that’s as broad as “necessary to protect the interest of the

   parties” but “limited to the inadequacy that produced the injury that the plaintiff has established[.]”

   Georgia, 46 F.4th at 1303 (first quoting Keener, 342 F.3d at 1269; and then quoting Gill v. Whitford, 585

   U.S. 48, 66 (2018)). We’ve already found that three of the individual Plaintiffs (Andrea Mendoza

   Hinojosa, Carmenza Aragon, and Maria Medrano Rios) and FWAF have established their standing to



   interests to seek the protection of injunctive relief—class certification under Rule 23, joinder and
   intervention in an existing lawsuit, or even filing a new lawsuit of their own.”).
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   maintain this lawsuit. See Order Granting Motion for Preliminary Injunction at 13 (“As we’ve

   suggested, the conduct of the three Plaintiffs we’ve discussed above is at least arguably proscribed by

   Section 10.”); id. at 16 (“As with [other] organizational plaintiffs . . . , the Farmworker Association has

   shown, through a sworn Declaration from its General Coordinator, that it’s had to divert resources

   away from its regular activities to educate and assist affected individuals in their efforts to comply with

   Section 10 of SB 1718.”). And it’s axiomatic that an injunction should reach all plaintiffs who have

   shown that, absent injunctive relief, they will suffer a future (or ongoing) injury-in-fact. See Malowney

   v. Fed. Collection Deposit Grp., 193 F.3d 1342, 1346 (11th Cir. 1999) (“In order to demonstrate that a

   case or controversy exists to meet the Article III standing requirement when a plaintiff is seeking

   injunctive or declaratory relief, a plaintiff must allege facts from which it appears there is a substantial

   likelihood that he will suffer injury in the future.”); Virdi v. DeKalb Cnty. Sch. Dist., 216 F. App’x 867,

   871 (11th Cir. 2007) (“An injunction is not lightly entered. To have Article III standing to pursue

   injunctive relief, even against violations of the Constitution, a plaintiff must have more than a merely

   hypothetical grievance: he or she must have an injury in fact that is capable of being redressed by the

   injunction.” (citing City of L.A. v. Lyons, 461 U.S. 95, 101 (1983)). 5

           The Defendants object to this commonsense approach on two grounds—both unpersuasive.

   First, they say that an injunction shouldn’t apply to FWAF and its members because FWAF “does not

   possess a cause of action to challenge Section 787.07.” Defendants’ Supplemental Brief at 8. This

   argument (viz., that organizations like FWAF lack a cause of action to enjoin the enforcement of state



   5
     See also Rodgers v. Bryant, 942 F.3d 451, 461–62 (8th Cir. 2019) (Stras, J., concurring in part and
   dissenting in part) (“The common thread was that courts of equity tailored injunctions to the particular
   harms that the moving party faced, whether during litigation or after. . . . This party-centered
   understanding of injunctions was also reflected in equity’s requirement ‘that all persons materially
   interested, either legally, or beneficially, in the subject-matter of a suit, are to be made parties to it,
   however numerous they may be.’” (cleaned up) (quoting JOSEPH STORY, COMMENTARIES ON EQUITY
   PLEADINGS, AND THE INCIDENTS THEREOF, ACCORDING TO THE PRACTICE OF THE COURTS OF
   EQUITY, OF ENGLAND AND AMERICA § 72, at 86 (Boston, Charles C. Little & James Brown 1848))).
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   laws) forms the basis of the Defendants’ Motion Reconsideration, which we’ll address in a separate

   order. For now, though, we’ve determined that FWAF can proceed with this lawsuit—and we won’t

   cut them out of this injunction. At the same time, even the Plaintiffs concede that there should be

   some limiting principle to a “members-only” injunction. After all, “[i]f membership was required to

   avoid arrest and prosecution under Section 10, there would presumably be a rush of membership

   applications, potentially overwhelming the organization.” Plaintiffs’ Supplemental Brief at 6–7 (citing

   Xiuhtecutli Decl. ¶¶ 31–38). To ensure that FWAF is afforded complete relief—but mindful that an

   injunction shouldn’t be indefinite or harmful to the plaintiffs—our injunction will apply only to

   persons who can verify that they were active FWAF members as of the date of this Order. See, e.g., Teche

   Vermilion Sugar Cane Growers Ass’n v. Su, 2024 WL 4729319, at *3 (W.D. La. Nov. 7, 2024) (“In light

   of Rule 65, the Court determined that the preliminary injunction should only apply to the named

   Plaintiffs and their members as of the date of the injunction order, and not to future members of the

   Association Plaintiffs. The Court will reconsider the scope of the injunctive relief should Plaintiffs

   ultimately prevail on the merits of their claims.”).

           Second, the Defendants urge us to “carve out pending prosecutions from the scope of

   injunctive relief,” adding that “the proper scope of relief here is at most an injunction prohibiting

   Defendants from prosecuting the individual Plaintiffs.” Defendants’ Supplemental Brief at 8, 10. In

   their view, the “Farmworker Association’s presence as a plaintiff . . . does not warrant broadening the

   injunction to be statewide,” because the “Farmworker Association does not possess a cause of action

   to challenge Section 787.07,” id. at 8, and because the “Association has not established that enjoining

   pending prosecutions is traceable or redressable to any future injury,” id. at 10. The Defendants thus

   contend that an injunction any broader than one “limited to preventing criminal prosecutions of [the

   individual] Plaintiffs” would be “more burdensome . . . than necessary to provide complete relief to

   the [P]laintiffs.” Id. at 8 (cleaned up).

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           We disagree. FWAF has identified a direct causal connection between its injury and the alleged

   conduct, see Xiuhtecutli Decl. ¶ 38 (“I anticipate that the community impact of Section 10, including

   arrests and detentions, will continue to divert FWAF’s resources from its core mission of

   strengthening farmworker communities through its different programs and normal organizing

   work.”), and that injury would be redressed by an order enjoining the enforcement of Section 10, since

   any such injunction would allow FWAF to resume its core business activities without having to divert

   resources to address the looming threat of its members’ prosecutions, see Fla. State Conference of

   N.A.A.C.P. v. Browning, 522 F.3d 1153, 1159 n.9 (11th Cir. 2008) (“If we accept the injury to be that

   Subsection 6 will hinder the organizations’ ability to carry out their mission of registering eligible voters

   by forcing plaintiffs to divert time and resources needed to comply with the matching requirement,

   causation is apparent. An injunction against the enforcement of Subsection 6 would also redress this

   injury by doing away with the matching requirement, thereby freeing up the organizations to get on

   with their business.”). By the same token, an injunction that only prohibits the Defendants from

   prosecuting the individual Plaintiffs would fail to afford “complete relief to the plaintiffs,” Georgia, 46

   F.4th at 1303, because that (more limited) injunction would neither remedy the FWAF’s existing

   injuries nor prevent it from continuing to suffer the same injury in the future, see Plaintiffs’

   Supplemental Brief at 7–8 (“A members-only injunction would also fail to remedy FWAF’s existing

   injuries stemming from its diversion of resources. . . . Indeed, an injunction limited to FWAF members

   would likely require an even greater diversion of resources to educate both members and non-

   members about the contours of such an injunction, the rules governing stops, arrests, and proof of

   membership, and how to address the inevitable mistakes noted above.”).

           Our preliminary injunction, in sum, will apply only to the Plaintiffs who have demonstrated

   their standing—the three individual Plaintiffs, the FWAF, and the FWAF’s members—as of the date

   of this Order.

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                                             *        *      *

          After careful review, therefore, we hereby ORDER and ADJUDGE that the preliminary

   injunction we issued in our Order Granting the Plaintiffs’ Motion for Preliminary Injunction [ECF

   No. 99] is modified as follows:

          1. FLA. STAT. § 787.07 is PRELIMINARY ENJOINED. The Defendants must take no

              steps to enforce FLA. STAT. § 787.07 against Plaintiffs Andrea Mendoza Hinojosa,

              Carmenza Aragon, Maria Medrano Rios, the Farmworker Association of Florida, and all

              current members (as of the date of this Order) of the Farmworker Association of Florida

              until otherwise ordered by the Court.

          2. This preliminary injunction binds the Defendants and their officers, agents, servants,

              employees, and attorneys—and others in active concert or participation with them—who

              receive actual notice of this injunction by personal service or otherwise.

          DONE AND ORDERED in the Southern District of Florida on March 11, 2025.




                                                           _________________________________
                                                           ROY K. ALTMAN
                                                           UNITED STATES DISTRICT JUDGE

   cc:    counsel of record




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